U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

UNITED STATES DISTRICT COURT FILED
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UNITED STATES OF AMERICA § BY pase

§
v. § Case No. 3:23-mj-00808-BH *SEALED*

§
COREY WILSON (1) §

ORDER OF TEMPORARY COMMITMENT

On this date the above named Defendant appeared before the undersigned magistrate judge after having
been arrested in the above numbered action for an offense against the laws of the United States, and

The government having moved the magistrate judge to hold a hearing to determine whether any
condition or combination of conditions will reasonably assure the Defendant's appearances and the
safety of any other person and the community (18 U.S.C. §3142(f), as amended P.L. 98-473, 98 Stat.
1837), and

The government's attorney having moved for a continuance of such hearing

It appearing that the Defendant may not be capable of posting of a monetary bond as a condition to
assure his appearance and the safety of any other person and the community (§3142(c), supra), and that a
hearing on whether the Defendant should be released on bond or should be detained pending disposition
of the criminal charges should be deferred from today's date, and

() Defendant having moved for a continuance so that he can have an attorney present at the hearing,

IT IS, THEREFORE, ORDERED that the Detention Hearing is to be held on ul } 2) a>
at l Can before the undersigned magistrate judge, unless extended for good cause. *

IT IS FURTHER ORDERED that the Defendant is committed to the custody of the United States Marshal
for confinement in a corrections facility separate, to the extent practicable from persons awaiting or serving
sentences or being held in custody pending appeal, pending the above scheduled detention hearing.

A copy of this order shall be transmitted to counsel for the parties.

ENTERED this November 1, 2023.

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REBECCA RUTHERFOR
UNITED STATES MAGISTRATE JUDGE

attorney. A continuance on behalf of the Defendant will be granted without a hearing upon the written request of the Defendant or his

*A continuance on behalf of the government will be granted without a hearing only upon the written consent of the Defendant or his
attorney. Continuances shall not exceed five work days from the original setting for the Detention Hearing.
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